

Matter of Wayne (2024 NY Slip Op 05270)





Matter of Wayne


2024 NY Slip Op 05270


Decided on October 24, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:October 24, 2024

PM-208-24
[*1]In the Matter of Jonathan Wayne, an Attorney. (Attorney Registration No. 2850790.)

Calendar Date:October 15, 2024

Before:Garry, P.J., Aarons, Pritzker, Ceresia and Mackey, JJ.

Jonathan Wayne, Brunswick, Maine, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jonathan Wayne was admitted to practice by this Court in 1997 and lists a business address in Augusta, Maine with the Office of Court Administration. Wayne now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Deputy Chief Attorney.
As is noted by AGC, Wayne is presently delinquent in his New York attorney registration requirements, having failed to register for the biennial period beginning in 2023 (see Judiciary Law § 468-a; Rules of Chief Admr of Cts [22 NYCRR] § 118.1). Inasmuch as Wayne is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Prof Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [3d Dept 2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [3d Dept 2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [3d Dept 2017]). Further, any future application by Wayne must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [3d Dept 2017]).
Garry, P.J., Aarons, Pritzker, Ceresia and Mackey, JJ., concur.
ORDERED that Jonathan Wayne's application for permission to resign is denied.








